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Attorneys for Plaintiffs


       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                 SOUTHERN REGION OF THE CENTRAL DIVISION


  CRYSTAL LAGOONS U.S. CORP. AND           CONSENT INJUNCTION
  CRYSTAL LAGOONS TECHNOLOGIES
  INC.,
                                           Case No. 2:20-cv-00851-BSJ
                  Plaintiffs,
                                             Judge Bruce S. Jenkins
          vs.

  DESERT COLOR MANAGER LLC,
  DESERT COLOR ST. GEORGE LLC, AJ
  CONSTRUCTION, INC., TRI-STATE
  VENTURES, LLC d/b/a CAREFREE             JURY TRIAL DEMANDED
  HOMES – UTAH, COLE WEST HOME
  LLC, HOLMES HOMES, INC., SULLIVAN
  HOMES LLC, and PACIFIC AQUASCAPE
  INTERNATIONAL, INC.,

                  Defendants.
       THIS MATTER, Case No. 2:20-cv-00851 (the “Civil Action”), having been commenced

by Plaintiffs Crystal Lagoons U.S. Corp. and Crystal Lagoons Technologies Inc. (“Crystal

Lagoons”), by filing a Complaint on December 3, 2020, against the above Defendants including

Defendants TRI-STATE VENTURES, LLC d/b/a CAREFREE HOMES – UTAH (“Carefree

Homes”) and SULLIVAN HOMES LLC (“Sullivan”);

       Defendants Carefree Homes and Sullivan having agreed and acknowledged service for the

purposes of consenting to jurisdiction and enforcement by this Court;

       The Defendants Carefree Homes and Sullivan, without admitting the allegations of the

Complaint or Motion for Preliminary Injunction (ECF No. 10) for the purposes of this Consent

Injunction (the “Consent Injunction”), except as to jurisdiction and venue, which they admit,

consent to the entry of this Order and state that the consent is entered voluntarily;

       Carefree Homes and Sullivan reserve all defenses other than those explicitly waived herein;

       Plaintiffs and Defendants Carefree Homes and Sullivan having consulted independent legal

counsel in connection with this Civil Action; and

       NOW THEREFORE IT IS HEREBY STIPULATED AND AGREED, by and between the

undersigned parties, and ORDERED AND ADJUDGED, and made effective as of this 7th day of

January, 2021 as follows:

       1. The Court has personal jurisdiction over each of the parties to this action. The Court has

federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a) over the Lanham Act

claims because the action alleges inter alia violations of federal statutes; and the Court has

jurisdiction pursuant to 28 U.S.C. §§ 1338(b) and 1367 over the state law claims because they arise

out of the same nucleus of operative fact and are so related to the federal cause of action that they

form the same case or controversy. Venue is proper in this judicial district under 28 U.S.C. § 1391

                                                  2
because Defendants Carefree Homes and Sullivan reside in this district, have their principal places

of business here, or both. In addition, a substantial part of the events giving rise to the claims

occurred in this district.

        2. Defendants Carefree Homes and Sullivan consent to the jurisdiction of this Court to

enter and enforce the Order against them, their officers, employees, servants, agents, licensees,

attorneys, subsidiaries and assigns, and the parties hereby consent to the entry of this Consent

Injunction.

        3. The Court hereby directs an injunction in favor of Plaintiffs and against Defendants

Carefree Homes and Sullivan in accordance with the terms herein.

        4. Crystal Lagoons owns U.S. trademarks on the name “Crystal Lagoons®” and related

terms, covering a wide range of goods and services. These include:


         Registration             Date of                         Trademark
             No.                Registration

         3,881,936           November 30, 2010   CRYSTAL LAGOONS

         5,312,449           October 17, 2017    CRYSTAL LAGOONS

         5,336,166           November 14, 2017   CRYSTAL LAGOONS WORLD’S TOP
                                                 AMENITY

         5,454,097           April 28, 2018      CRYSTAL LAGOONS

         5,465,084           May 8, 2018         CRYSTAL LAGOONS

         5,551,251           August 28, 2018     CRYSTAL LAGOONS WORLD’S BEST
                                                 AMENITY

         5,870,729           October 1, 2019     CRYSTAL LAGOONS

         5,927,101           December 2, 2019    THE BEACH BY CRYSTAL LAGOONS



                                                 3
         6,042,995       April 28, 2020          CRYSTAL LAGOONS


(Registrations attached as Exhibit A).

       In addition, Crystal Lagoons owns copyrights in the entire website at https://www.crystal-

lagoons.com. Crystal Lagoons’ copyrighted work includes all images, text, designs, flow and

source code (collectively “Desert Color’s Copyright IP”) including but not limited to those images

on Exhibit B.

       Effective immediately, Defendants Carefree Homes and Sullivan, are enjoined and

restrained and shall:

       1.       Cease all use of any kind of the CRYSTAL LAGOONS mark or substantially
                similar names or marks, including but not limited to the mark CRYSTAL in
                connection with any water amenity and those listed on Ex. A;

       2.       Remove, take down and destroy within 30 days any and all uses of CRYSTAL
                LAGOONS mark or substantially similar names or marks, including but not limited
                to the mark CRYSTAL in connection with any water amenity;

       3.       Cease all use of any kind of Crystal Lagoons’ images, photographs, or renderings,
                including but not limited to those listed on Ex. B;

       4.       Remove, take down and destroy within 30 days any and all Crystal Lagoons
                Copyright IP including uses of images, photographs and renderings listed on Ex.
                B;

       5.       Instruct all third-party affiliates and partners to stop all use of the CRYSTAL
                LAGOONS mark or substantially similar names or marks, including but not
                limited to the mark CRYSTAL in connection with any water amenity, including
                but not limited to those listed on Ex. A., and stop all use of any kind of Crystal
                Lagoons’ images, photographs, or renderings, including but not limited to those
                listed on Ex. B; and

       6.       Not use any flocculant to treat the lagoon water at Desert Color.

       This Court shall retain jurisdiction of this matter for the purpose of enforcing the terms

and provisions of this Consent Injunction.



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       This Consent Injunction resolves all claims for relief against Defendants Carefree Homes

and Sullivan asserted in the Motion for Preliminary Injunction (ECF No. 10). Any and all

remaining claims as between Plaintiffs and Defendants Carefree Homes and Sullivan as well as

any claims against the other Defendants not addressed by this Consent Injunction which were

raised in the Civil Action, are unaffected by this Consent Injunction and shall proceed.


IT IS SO ORDERED.



Dated: _____________                                 _____________________________
                                                     Hon. Bruce S. Jenkins
                                                     United States District Court Judge




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                                          CONSENT

        The foregoing Consent Injunction is approved as to form and substance, and the entry
thereof without further notice is hereby consented to, and the respective parties have agreed to
waive, and do hereby waive, all rights of appeal which they, or any of them, may have from said
Consent Injunction.


Date: January 7, 2021                       By: /s/ Stephen M. Sansom
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Date: January 7, 2021                       By: /s/ Curtis M. Jensen (signed with permission)
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Date: January 7, 2021   By: /s/ Robert M. Jensen*
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                              Counsel for Defendant Sullivan Homes LLC




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